        6:17-cv-00359-JHP Document 2 Filed in ED/OK on 09/26/17 Page 1 of 6



        IN THE UNITED STATES DISTRICT COURT FOR THE
             EASTERN DISTRICT OF OKLAHOMA

   1. STEVEN RAY ROWSEY,                          )
   2. MELINDA MICHELE THOMAS,                     )
                                                  )
             Plaintiffs,                          )
                                                  )
v.                                                )Case No.:          17-CV-359-JHP
                                                  )
   1. HOMESITE INDEMNITY COMPANY,                 )
      a Foreign for Profit Insurance Corporation, )
                                                  )
            Defendant.                            )

                                     COMPLAINT

                                       A. Parties

   1.    Plaintiffs, Steven Ray Rowsey and Melinda Michele Thomas, are each

citizens of the State of Oklahoma.

   2.    Defendant, Homesite Indemnity Company, is a foreign for-profit insurance

corporation, incorporated and organized under the laws of the State of Wisconsin.

  3.     The principal place of business for Defendant, Homesite Indemnity

Company, is Madison, Wisconsin.

  4.      The Defendant, Homesite Indemnity Company, is licensed to conduct

business in the State of Oklahoma and may be served with process through the

Oklahoma Department of Insurance.

   5.     This action is not related to any other case filed in this court.
        6:17-cv-00359-JHP Document 2 Filed in ED/OK on 09/26/17 Page 2 of 6



                                   B. Jurisdiction

   6.     The court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332

because there is diversity between the parties and the amount in controversy

exceeds $75,000.00, exclusive of interest and costs.

                                       C. Facts

   7.      At all times material hereto, the Plaintiffs, Steven Ray Rowsey and

Melinda Michele Thomas, rented a home located at 7224 E. 144 in Atwood,

Oklahoma, which was insured under the terms and conditions of an insurance

policy, policy number 33774075, issued by the Defendant, Homesite Indemnity

Company.

   8.      At all times material hereto, the Plaintiffs, Steven Ray Rowsey and

Melinda Michele Thomas, complied with the terms and conditions of their

insurance policy.

   9.     On or about March 4, 2017, the Plaintiffs’ home and contents were

damaged and/or destroyed as a result of a fire. These damages are covered

pursuant to the terms and conditions of Plaintiffs’ insurance policy.

  10.     Fire is a covered peril not limited or excluded pursuant to the terms and

conditions of Plaintiffs’ insurance policy.

                           D. Count I: Breach of Contract

  11.      Plaintiffs, Steven Ray Rowsey and Melinda Michele Thomas, hereby
     6:17-cv-00359-JHP Document 2 Filed in ED/OK on 09/26/17 Page 3 of 6



assert, allege and incorporate paragraphs 1-10 herein.

  12.    The insurance policy, policy number 33774075, issued by Defendant,

Homesite Indemnity Company, was in effect on or about March 4, 2017.

  13.    Subsequent to the March 4, 2017 fire, Plaintiffs, Steven Ray Rowsey and

Melinda Michele Thomas, timely submitted a claim to Defendant, Homesite

Indemnity Company.

   14.    The acts and omissions of Defendant, Homesite Indemnity Company, in

the investigation, evaluation, and payment of Plaintiffs’ claim were unreasonable

and constitute a breach of contract for which contractual damages are hereby

sought. Defendant, Homesite Indemnity Company, breached its contract with

Plaintiffs, Steven Ray Rowsey and Melinda Michele Thomas, by failing to issue

payment for the Plaintiffs’ damages and by failing to conduct a reasonable

investigation and evaluation of the Plaintiffs’ claim. Defendant failed to adequately

and timely issue payment to Plaintiffs for their covered losses and unreasonably

delayed the issuance of any payment to Plaintiffs for nearly 7 months, without any

reasonable justification or excuse.

                              E. Count II: Bad Faith

   15.     Plaintiffs, Steven Ray Rowsey and Melinda Michele Thomas, hereby

assert, allege and incorporate paragraphs 1-14 herein.

   16.    The acts and omissions of the Defendant, Homesite Indemnity Company,
     6:17-cv-00359-JHP Document 2 Filed in ED/OK on 09/26/17 Page 4 of 6



in the investigation, evaluation and payment of Plaintiffs’ claim were unreasonable

and constitute bad faith for which bad faith and extra-contractual damages are

hereby sought.

   17.      Defendant Homesite Indemnity Company’s undue and unreasonable

delay and/or refusal to issue payment to Plaintiffs for their covered fire loss

amounts to a bad faith breach of Plaintiffs’ insurance policy. Defendant, Homesite

Indemnity Company, acted in bad faith by failing to issue payment for the

Plaintiffs’ damages and by failing to conduct a reasonable investigation and

evaluation of the Plaintiffs’ claim. Defendant failed to adequately and timely issue

payment to Plaintiffs for their covered losses and unreasonably delayed the

issuance of any payment to Plaintiff for nearly 7 months, without any reasonable

justification or excuse. Throughout this time, Defendant kept Plaintiffs in the dark

about the status of their claim and about Defendant’s coverage position with

respect thereto. Defendant unreasonably failed to issue any advance payment to

Plaintiffs or otherwise issue any payment to Plaintiffs for additional living

expenses or for their damaged contents, despite the fact that Plaintiffs were

displaced from their home and their contents were damaged/destroyed as a result

of a covered fire loss. At all times, Plaintiffs complied with the terms and

conditions of their insurance policy. Plaintiffs timely submitted a list of damaged

contents to Defendant and provided testimony in an examination under oath.
     6:17-cv-00359-JHP Document 2 Filed in ED/OK on 09/26/17 Page 5 of 6



Defendant’s adjusters continued to keep Plaintiffs in the dark about their coverage

and their claim for nearly 7 months, only stating that the claim was “under

investigation” and even going as far as to state that Defendant would not issue any

payment for Plaintiffs’ contents which were destroyed by fire unless Plaintiffs “had

pictures to prove it.” Defendant has refused to issue payment to Plaintiffs for their

covered loses and has unreasonably delayed the claim process, despite the fact that

Defendant has no reasonable evidence to suggest that Plaintiffs’ losses are not

covered or that the fire was intentionally started by or procured by the Plaintiffs.

   18.     Defendant Homesite Indemnity Company’s unreasonable investigation,

evaluation, and undue delay was outside of insurance industry standards, and was

committed in bad faith.

                                F. Punitive Damages

   19.    Plaintiffs, Steven Ray Rowsey and Melinda Michele Thomas, hereby

assert, allege and incorporate paragraphs 1-18 herein.

   20.       The unreasonable conduct of the Defendant, Homesite Indemnity

Company, in the handling of Plaintiffs’ claim was intentional, willful, wanton and

was committed with a reckless disregard for the rights of the Plaintiffs, Steven Ray

Rowsey and Melinda Michele Thomas, for which punitive damages are hereby

sought.
     6:17-cv-00359-JHP Document 2 Filed in ED/OK on 09/26/17 Page 6 of 6



                             G. Demand for Jury Trial

   21.      Plaintiffs, Steven Ray Rowsey and Melinda Michele Thomas, hereby

request that the matters set forth herein be determined by a jury of their peers.

                                     H. Prayer

   22.      Having properly pled, Plaintiffs, Steven Ray Rowsey and Melinda

Michele Thomas, hereby seek contractual, bad faith and punitive damages against

the Defendant, Homesite Indemnity Company, together in an amount in excess of

$75,000.00; including costs, interest and attorney fees.



                                        Respectfully submitted,

                                        S/ Michael D. McGrew
                                        Michael D. McGrew, OBA# 013167
                                        McGrew, McGrew & Associates, PC
                                        400 N. Walker, Suite 115
                                        Oklahoma City, Oklahoma 73102
                                        (405) 235-9909 Telephone
                                        (405) 235-9929 Facsimile
                                        mcgrewslaw@yahoo.com
                                        ATTORNEYS FOR THE PLAINTIFFS
